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           EXHIBIT B
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                                                                                                    Exhibit B
                                                                                             Net Winner Transactions
                                                                                       Bankruptcy Case No. 17-12560



                                                   Dank        Check      Clear
                     Debtor                       Account      Date       Date     Ck. No.                             Name                                      Memo                      Oisburseme
 Woodbridge Mortgage Investment Fund 3, LLC     1894942992   02/16/16   03/08/16   29296        MARK L CUTLER CHARITABLE REMAINDER TRUST     MT63 PINE CREST DRIVE, CO - INT FEB 24 DAYS   $      780
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   03/21/16   04/06/16   31704        MARK L CUTLER CHARITABLE REMAINDER TRUST     MTG3 MZ PINE CREST OR, CO • INT MAR                  975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   04/18/16   05/03/16   33876        MARK L CUTLER CHARITABLE REMAINDER TRUST     MTG3 M2 PINE CREST DR, CO - INT APR                  975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   05/16/16   06/08/16   36928        MARK L CUTLER CHARITABLE REMAINDER TRUST     MTG3 MZ PINE CREST DR-INT MAY                        975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   06/20/16   07/08/16   38844        MARK L CUTLER CHARITABLE REMAINDER TRUST     MTG3 MZ PINE CREST DR, CO - INTJUN                   975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   07/18/16   08/08/16   40659        MARK L CUTLER CHARITABLE REMAINDER TRUST     MTG3 M2 PINE CREST DR, CO - INT JUL                  975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   08/22/16   09/08/16   42427        MARK L CUTLER CHARITABLE REMAINDER TRUST     MTG3 MZ PINE CREST DR, CO - INT AUG                 975
Woodbridge Mortgage investment Fund 3, LLC      1894942992   09/20/16   10/05/16   44131       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 M2 PINE CREST DR, CO - INT SEP                 975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   10/25/16   11/02/16   45886       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 M2 PINE CREST OR, CO ■ INT OCT                 975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   11/15/16   12/05/16   47621       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 M2 PINE CREST DR, CO - iNT NOV                 975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   12/13/16   01/04/17   49242       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 MZ PINE CREST DR, CO - INT DEC                 975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   01/17/17   02/01/17   51041       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 M2 PINE CREST DR, CO-INT JAN                   975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   02/14/17   03/07/17   52628       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 MZ PINE CREST DR, CO • INT FEB                 975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   03/21/17   04/04/17   54207       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 MZ PINE CREST DR, CO - INT MAR                 975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   04/18/17   05/02/17   55718       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 MZ PINE CREST DR. CO - INT APR                 975
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   05/16/17   06/05/17   57240       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 M2 PINE CREST DR. CO - INT MAY                 975.
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   06/20/17   07/05/17   58729       MARK LCUTLER CHARITABLE REMAINDER TRUST       MTG3 M2 PINE CREST DR, CO - INT JUN                 975.
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   07/18/17   08/02/17   60674       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 M2 PINE CREST DR, CO - INT JUL                 975.
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   08/22/17   09/06/17   61591       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 MZ PINE CREST DR, CO • INT AUG                 975.
Woodbridge Mortgage Investment Fund 3, LLC      1894942992   09/07/17   09/27/17   62233       MARK L CUTLER CHARITABLE REMAINDER TRUST      MTG3 M2 PINE CREST OR. CO - INT SEP 8 DAYS          260.

                                                                                                                                                                                           $   18,590.
